      Case: 22-30697   Document:
Case 3:22-cv-01213-TAD-KDM       00516655235
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                       United States Court of Appeals
                                      FIFTH CIRCUIT
                                   OFFICE OF THE CLERK
    ġ                    ġ                                   ġ
    LYLE W. CAYCE        ġ                                           TEL. 504-310-7700
    CLERK                ġ                                        600 S. MAESTRI PLACE,
                         ġ                                                Suite 115
                                                                 NEW ORLEANS, LA 70130

                                 February 24, 2023


   Mr. Tony R. Moore
   Western District of Louisiana, Monroe
   United States District Court
   300 Fannin Street
   Suite 1167
   Shreveport, LA 71101-0000

          No. 22-30697       In re: Vivek Murthy
                             USDC No. 3:22-CV-1213


   Dear Mr. Moore,
   Enclosed is a copy of the judgment issued as the mandate.
                                       Sincerely,
                                       LYLE W. CAYCE, Clerk




                                       By: _________________________
                                       Allison G. Lopez, Deputy Clerk
                                       504-310-7702


   cc w/encl:
        Mr. Charles F. Capps
        Ms. Elizabeth Baker Murrill
        Mr. Michael Everett Talent
        Mr. Daniel Bentele Hahs Tenny
        Mr. John Julian Vecchione
        Mr. Daniel Winik
      Case: 22-30697   Document:
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                                                02/24/23 Date Filed:
                                                              2 of 2 02/24/2023
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                 United States Court of Appeals
                      for the Fifth Circuit
                                      ___________
                                                                           A True Copy
                                       No. 22-30697                        Certified order issued Feb 24, 2023

                                      ___________                          Clerk, U.S. Court of Appeals, Fifth Circuit


         In re Vivek H. Murthy; Jen Easterly; Rob Flaherty;
         United States of America,

                                                                            Petitioners.
                        ______________________________

                             Petition for a Writ of Mandamus
                            to the United States District Court
                           for the Western District of Louisiana
                                 USDC No. 3:22-CV-1213
                        ______________________________

         CLERK’S OFFICE:
               Under Fed. R. App. P. 42(b), the case is dismissed as of February
         24, 2023, pursuant to petitioners’ motion.
                                                      LYLE W. CAYCE
                                                      Clerk of the United States Court
                                                      of Appeals for the Fifth Circuit




                                          By: _________________________
                                                 Allison G. Lopez, Deputy Clerk

                            ENTERED AT THE DIRECTION OF THE COURT
